Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2894 Filed 02/24/16 Page 1 of 12




                   UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTICT OF MICHIGAN
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff/Respondent,
                                      Case No. 13-20495
 v.                                   Honorable Paul D. Borman
                                      Magistrate Judge Elizabeth A. Stafford
 ERNEST THOMPSON,

      Defendant/Petitioner.
 ____________________________/

          REPORT AND RECOMMENDATION TO DENY ERNEST
           THOMPSON’S MOTION TO VACATE, SET ASIDE, OR
       CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255 [R. 234]

 I.     INTRODUCTION

        After pleading guilty and being sentenced to 96 months in prison,

 defendant-petitioner Ernest Thompson, a federal prisoner proceeding pro

 se, filed a motion to vacate, set aside or correct his sentence pursuant to

 28 U.S.C. § 2255 [R. 234], which is before this Court for report and

 recommendation. Having reviewed the parties’ briefs, the Court finds that

 Thompson fails to demonstrate a legal basis to vacate, set aside or correct

 his sentence, and thus RECOMMENDS DENYING his motion [R. 234].

 II.    BACKGROUND

        Prior to May 2, 2013, Thompson and at least three other individuals

 agreed to rob, by the use of force or threatened force, a pharmaceutical
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2895 Filed 02/24/16 Page 2 of 12




 van delivering controlled substances. [R. 99, PgID 634]. Thompson

 acknowledged in his plea agreement that he joined the conspiracy

 knowingly and voluntarily, and participated in the planning of the robbery.

 [Id., PgID 635].

       On May 2, 2013, co-conspirators of Thompson drove to the parking

 lot of the Patient Care Pharmacy in Dearborn and parked behind a

 pharmaceutical delivery van. [Id.]. One of the co-conspirators got out of

 the vehicle, approached the delivery driver, brandished a firearm that had

 been provided by Thompson, and demanded the keys to the van. [Id.].

 After obtaining the keys, the gunman drove off in the pharmaceutical van,

 and all of the co-conspirators met at Thompson’s residence to divide the

 contents of the van. [Id.].

       On October 29, 2013, a federal grand jury returned a second

 superseding indictment against Thompson, charging him with, inter alia,

 conspiracy to commit interference with commerce by robbery, 18 U.S.C. §

 1951(a), brandishing a firearm during and in relation to a crime of violence,

 18 U.S.C. § 924(c), and felon in possession of a firearm, 18 U.S.C.

 922(g)(1). [R. 45]. Thompson pleaded guilty to those charges pursuant to

 a Rule 11 plea agreement. [R. 99; R. 243].

       At an October 17, 2014 sentencing hearing, the Court accepted the


                                       2
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2896 Filed 02/24/16 Page 3 of 12




 plea agreement and sentenced Thompson to a 96-month term of

 imprisonment – a 12-month term for the robbery conspiracy and felon in

 possession charges, and, as is mandatory under 18 U.S.C. §

 924(c)(1)(A)(ii), a consecutive 84-month term for the brandishing charge.

 [R. 224, PgID 2586].

        Thompson filed a motion to vacate, set aside, or correct his sentence

 pursuant to 28 U.S.C. § 2255 [R. 234], the Government filed a response

 and supplemental response [R. 246; R. 261], and Thompson replied to

 each response [R. 258; R 274].

 III.   ANALYSIS

        Thompson argues he is actually innocent of the brandishing a firearm

 charge because he only served as a lookout for the robbery, and that his

 counsel was ineffective for failing to challenge that charge, despite

 promising to do so, and for failing to investigate. He further argues that his

 plea was not knowing, intelligent or voluntary, and that his brandishing a

 firearm conviction is unconstitutional. Thompson’s arguments are

 unavailing.

                                           A.

        Thompson’s argument that he is actually innocent of the brandishing

 a firearm charge and his argument that his attorney was deficient for failing


                                       3
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2897 Filed 02/24/16 Page 4 of 12




 to challenge that charge lack merit.

       A federal prisoner “claiming the right to be released upon the ground

 that the sentence was imposed in violation of the Constitution or laws of the

 United States ... may move the court which imposed the sentence to

 vacate, set aside, or correct the sentence.” 28 U.S.C. § 2255 para. 1. To

 prevail under § 2255, “a petitioner must demonstrate the existence of an

 error of constitutional magnitude which had a substantial and injurious

 effect or influence on the guilty plea or the jury’s verdict.” Humphress v.

 United States, 398 F.3d 855, 858 (6th Cir. 2005) (citation omitted). “Relief

 is warranted only where a petitioner has shown a fundamental defect which

 inherently results in a complete miscarriage of justice.” Griffin v. United

 States, 330 F.3d 733, 736 (6th Cir. 2003) (internal quotation marks and

 citation omitted).

       The Sixth Amendment right to counsel and right to effective

 assistance of counsel protect the fundamental right to a fair trial. See

 Strickland v. Washington, 466 U.S. 668, 687 (1984). To establish

 ineffective assistance of counsel, a defendant must show that: (1) counsel’s

 errors were so serious that “counsel was not functioning as the ‘counsel’

 guaranteed the defendant by the Sixth Amendment”; and (2) “the deficient

 performance prejudiced the defense.” Id. at 687. To satisfy the first


                                        4
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2898 Filed 02/24/16 Page 5 of 12




 element, a defendant must demonstrate that the attorney’s representation

 “fell below an objective standard of reasonableness.” Id. at 687-88.

 Judicial scrutiny of an attorney’s performance is “highly deferential”; there is

 a “strong presumption that counsel’s conduct falls within the wide range of

 reasonable professional assistance[.]” Id. at 689. With respect to the

 prejudice prong, a “defendant must show that there is a reasonable

 probability that, but for counsel's unprofessional errors, the result of the

 proceeding would have been different. A reasonable probability is a

 probability sufficient to undermine confidence in the outcome.” Id. at 694.

         Although Thompson argues that his attorney was deficient for failing

 to argue that he could not be guilty of the brandishing charge because he

 only acted as a lookout, the government correctly points out that he was

 properly convicted of the brandishing offense under a Pinkerton1 theory of

 liability. [R. 246, PgID 2716]. Under Pinkerton, a conspirator is held liable

 for the crimes of other co-conspirators that are within the reasonably

 foreseeable scope of the conspiracy. Pinkerton, 328 U.S. at 645-48. To be

 convicted based on Pinkerton liability brandishing charge, each of the

 following elements must be proved beyond a reasonable doubt: (1)

 Thompson was a member of the underlying robbery conspiracy; (2) after he


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     Pinkerton v. United States, 328 U.S. 640, 645-48 (1946).
                                        5
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2899 Filed 02/24/16 Page 6 of 12




 joined the conspiracy, and while he was still a member of it, one or more of

 the other members committed the crime of brandishing a firearm during

 and in relation to a crime of violence; (3) the brandishing of a firearm crime

 was committed to help advance the conspiracy; and (4) the brandishing a

 firearm crime was within the reasonably foreseeable scope of the

 conspiracy and one that Thompson could have reasonably anticipated as a

 necessary or natural consequence of the agreement. See Pinkerton, 328

 U.S. at 645-48; see also Sixth Circuit Pattern Jury Instructions 3.10,

 Pinkerton Liability for Substantive Offenses Committed by Others, Sept. 9,

 2015.2

         Thompson admitted during the plea hearing that he gave one of his

 co-conspirators a gun to use in the robbery, that he knew it was going to be

 used in furtherance of the robbery, and that the gun was used and

 brandished during the robbery to get control of the van. [R. 243, PgID

 2693]. Further, Thompson signed the Rule 11 plea agreement, which

 contains the admission that “while he was a member of the [robbery]

 conspiracy, a co-conspirator brandished a firearm during and in relation to

 the crime of interference with commerce by robbery. The brandishing of

 the firearm was done to help advance the conspiracy and it was within the


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     http://www.ca6.uscourts.gov/internet/crim_jury_insts/pdf/crmpattjur_full.pdf
                                            6
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2900 Filed 02/24/16 Page 7 of 12




 reasonably foreseeable scope of the conspiracy.” [R. 99, PgID 636].

          Based on those admissions, a sufficient factual basis existed to

 convict Thompson of brandishing a firearm during and in relation to a crime

 of violence under a Pinkerton theory of liability. Further, in light of those

 admissions and Thompson’s decision to plead guilty to the brandishing

 charge, his counsel was not ineffective for failing to challenge that charge.

                                           B.

          Thompson argues that his guilty plea to the brandishing a firearm

 charge was not knowing, intelligent or voluntary. In support of that

 argument, he contends that he only pleaded guilty to the brandishing

 charge because his counsel purportedly told him that he “could defeat the

 ‘brandishing’ [charge] at sentencing” and that he would “not be found guilty”

 of brandishing. [R. 234, PgID 2642, 2644]. This argument fails.

          First, in light of the fact that he was pleading guilty to the brandishing

 charge, Thompson’s argument that his counsel promised that they could

 beat that same charge at sentencing is incredulous. Putting that aside,

 though, the record demonstrates that Thompson pleaded guilty knowingly,

 intelligently and voluntarily, and that he knew by pleading guilty that he was

 admitting his guilt to the brandishing charge and giving up his right to a jury

 trial.


                                           7
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2901 Filed 02/24/16 Page 8 of 12




       The Court explained to Thompson during the plea hearing that, if he

 pleaded guilty, he would be giving up the right to a trial where he could

 present a defense, and Thompson confirmed that he still wished to plead

 guilty. [R. 243, PgID 2682]. Next, the Court reviewed the elements of the

 brandishing charge and asked Thompson if his decision to plead guilty was

 a result of the Rule 11 plea agreement. [Id., PgID 2684-86]. Thompson

 confirmed that his guilty plea was a result of the plea agreement, which he

 acknowledged he had reviewed. [Id., PgID 2686]. The plea agreement

 specifically states that “the Court must impose a sentence of imprisonment

 on Count Three (Brandishing a Firearm During and in Relation to a Crime

 of Violence) of at least seven (7) years.” [R. 99, PgID 638 (emphasis in

 original)]. Moreover, the Court explained to Thompson during the plea

 hearing that the brandishing charge carried a mandatory 84-month

 consecutive sentence, and he confirmed that he understood. [R. 243, PgID

 2688]. Accordingly, the Court found that Thompson pleaded guilty

 “knowingly, freely and voluntarily.” [Id., PgID 2694].

       Thompson’s acquiescence at the sentencing hearing further

 undermines his contention that he was unaware of the ramifications of

 pleading guilty. During the sentencing hearing, Thompson’s attorney

 stated that although Thompson was a lookout, “he knows that he’s just as


                                       8
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2902 Filed 02/24/16 Page 9 of 12




 responsible as the person that got out of the … stolen car and put a gun on

 the pharmaceutical driver.” [R. 224, PgID 2582]. Shortly thereafter, the

 Court again confirmed that the brandishing charge carried a mandatory

 minimum sentence of seven years, so Thompson “must get 84 months …

 on that count plus anything on the other counts,” and Thompson’s attorney

 stated that the Court was correct. [Id., PgID 2582-83]. When given a

 chance to speak, Thompson did not object to the mandatory 84-month

 sentence, but instead agreed with the foregoing facts and stated, “My

 lawyer has pretty much summed up everything.” [Id., PgID 2583].

       Thompson’s argument that his guilty plea was not knowing, intelligent

 or voluntary fails.

                                      C.

       Last, Thompson argues that his conviction on the brandishing charge

 and the mandatory 84-month sentence violated Alleyne v. United States,

 570 U.S. ––, 133 S.Ct. 2151 (2013), and that his counsel was deficient in

 failing to investigate. Thompson is wrong.

       In Alleyne, the Supreme Court held that the Sixth Amendment

 requires that any fact that increases the mandatory minimum sentence for

 a crime is an element of the offense that must be found by the jury beyond

 a reasonable doubt. Alleyne, 133 S.Ct. 2151. However, Thompson


                                      9
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2903 Filed 02/24/16 Page 10 of 12




 pleaded guilty to the brandishing charge and admitted the necessary facts

 for the conviction. “[W]hen a defendant knowingly admits the facts

 necessary for a sentence enhancement in the context of a plea,

 simultaneously waiving his Sixth Amendment right to a jury trial,” Alleyne is

 not violated. United States v. Yancy, 725 F.3d 596, 601 (6th Cir. 2013).

 Since the Yancy defendant had admitted brandishing a firearm during his

 plea, his Alleyne challenge was without merit. Id. For the same reason,

 Thompson’s brandishing conviction and 84-month sentence are

 constitutional, and his counsel was not deficient in failing to investigate or

 challenge the conviction.

 IV.   CONCLUSION

       For the foregoing reasons, the Court RECOMMENDS DENYING

 Thompson’s motion to vacate, set aside or correct his sentence [R. 234].


       Dated: February 24, 2016             s/Elizabeth A. Stafford
                                            ELIZABETH A. STAFFORD
                                            United States Magistrate Judge




                                       10
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2904 Filed 02/24/16 Page 11 of 12




          NOTICE TO THE PARTIES REGARDING OBJECTIONS

       Either party to this action may object to and seek review of this

 Report and Recommendation, but must act within fourteen days of service

 of a copy hereof as provided for in 28 U.S.C. § 636(b)(1) and Fed. R. Civ.

 P. 72(b)(2). Failure to file specific objections constitutes a waiver of any

 further right of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v.

 Secretary of HHS, 932 F.2d 505 (6th Cir. 1991); United States v. Walters,

 638 F.2d 947 (6th Cir. 1981). Filing objections which raise some issues but

 fail to raise others with specificity will not preserve all objections that party

 might have to this Report and Recommendation. Willis v. Secretary of

 HHS, 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed'n of Teachers

 Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). A copy of any objection

 must be served upon this Magistrate Judge. E.D. Mich. LR 72.1(d)(2).

       Each objection must be labeled as “Objection #1,” “Objection #2,”

 etc., and must specify precisely the provision of this Report and

 Recommendation to which it pertains. Not later than fourteen days after

 service of objections, the non-objecting party must file a response to

 the objections, specifically addressing each issue raised in the objections in

 the same order and labeled as “Response to Objection #1,” “Response to

 Objection #2,” etc. The response must be concise and proportionate in


                                         11
Case 2:13-cr-20495-PDB-EAS ECF No. 279, PageID.2905 Filed 02/24/16 Page 12 of 12




 length and complexity to the objections, but there is otherwise no page

 limitation.

                         CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s ECF
 System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on February 24, 2016.

                                           s/Marlena Williams
                                           MARLENA WILLIAMS
                                           Case Manager




                                      12
